         Case 3:20-cv-01438-KAD Document 10 Filed 11/09/20 Page 1 of 6




                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF CONNECTICUT
--------------------------------------------------X
DEBORAH LAUFER, individually,                     :
                                                  :
                         Plaintiff,               :
                                                  : 3:20-cv-01438 (KAD)
        v.                                        :
                                                  : DEFENDANT’S MEMORANDUM
HARBOR HILL MARINA INC, A                         : OF LAW IN SUPPORT OF
Domestic Corporation D/B/A INN AT :                 MOTION TO DISMISS
HARBOR HILL MARINA,                               :
                                                  :
                         Defendant.               :
--------------------------------------------------X

                                   INTRODUCTION

       This Memorandum of Law is submitted by Defendant, Harbor Hill Marina Inc. d/b/a

Inn at Harbor Hill Marina, (“Harbor Hill”) in support of its Motion to Dismiss based on

lack of standing.

                      STATEMENT OF UNDISPUTED FACTS

       Defendant owns and operates the Inn at Harbor Hill Marina. For purposes of this

Motion, it is undisputed it “is required to ensure that it’s [sic] place of lodging is in

compliance with the standards applicable to places of public accommodation,” including

28 C.F.R. § 36.302(e)(1). (Compl. ¶¶ 3, 6–7.) See Complaint attached as Exhibit “A”.

       Plaintiff’s cookie-cutter complaint alleging violations of the Americans with

Disabilities Act by Defendant is not very different than her many other complaints against

randomly-selected hospitality businesses across the nation. See, e.g., Laufer v. Laxmi &

Sons, LLC, No. 119CV01501BKSML, 2020 WL 2200207, at *4 n.5 (N.D.N.Y. May 6,
         Case 3:20-cv-01438-KAD Document 10 Filed 11/09/20 Page 2 of 6




2020) (noting that Plaintiff “has twenty-nine other actions pending before this Court which

appear to be similar lawsuits against places of lodging in the Northern District of New

York”). Plaintiff alleges she “is an advocate of the rights of similarly situated disabled

persons and is a ‘tester’ for the purpose of asserting her civil rights and monitoring,

ensuring, and determining whether places of public accommodation and their websites are

in compliance with the ADA.” (ECF #1, at 2, Compl. ¶ 2.)

       Plaintiff alleges as follows: She visited Defendant’s reservation websites to see

“whether they meet the requirements of 28 C.F.R. Section 36.302(e).” (Compl. ¶ 10.)

“However, Plaintiff was unable to do so because Defendant failed to comply with the

requirements set forth in 28 C.F.R. Section 36.302(e).” (Compl. ¶ 10.) Plaintiff intends to

revisit Defendant’s websites again to “test [them] for compliance with 28 C.F.R. Section

302.302(e).” (Compl. ¶ 11.) “By maintaining a websites [sic] with violations, Defendant

deprives Plaintiff the equality of opportunity offered to the general public.” (Compl. ¶ 13.)

Plaintiff lives in Florida but “intends to travel throughout the entire State as soon as the

Covid crisis is over.” (Compl. ¶¶ 1, 13.) Thus, “Plaintiff has suffered and will continue to

suffer direct and indirect injury as a result of the Defendant’s discrimination until the

Defendant is compelled to modify its websites to [sic] to comply with the requirements of

the ADA and to continually monitor and ensure that the subject websites remains [sic] in

compliance.” (Compl. ¶ 14.) Plaintiff seeks attorney’s fees, declaratory judgment, and

injunctive relief. (Compl. ¶¶ 19–20.)

       Defendant now moves to dismiss under Fed. R. Civ. P. 12(b)(1) because Plaintiff

lacks standing.


                                             2
         Case 3:20-cv-01438-KAD Document 10 Filed 11/09/20 Page 3 of 6




                                        ARGUMENT

       Under Fed. R. Civ. P. 12(b)(1), a defendant may raise the defense of lack of subject-

matter jurisdiction by motion. “Article III, Section 2 of the Constitution limits the

jurisdiction of the federal courts to the resolution of ‘cases’ and ‘controversies.’ To ensure

that this bedrock case-or-controversy requirement is met, courts require that plaintiffs

establish their standing as the proper parties to bring suit.” Sonterra Capital Master Fund

Ltd. v. UBS AG, 954 F.3d 529, 533–34 (2d Cir. 2020) (internal quotation marks omitted)

(citation omitted). To establish standing a plaintiff must demonstrate (1) an “injury in fact”

that is “concrete and particularized” and “actual or imminent, not conjectural or

hypothetical,” (2) “a causal connection between the injury and the conduct complaint of,”

and (3) redressability of the injury by a favorable decision. Lujan v. Defs. of Wildlife,

504 U.S. 555, 560–61 (1992). “Where, as here, a case is at the pleading stage, the plaintiff

must clearly allege facts demonstrating each element.” Spokeo, Inc. v. Robins, 136 S. Ct.

1540, 1547 (2016) (cleaned up).

       Here, Plaintiff’s allegations do not satisfy the injury-in-fact requirement. “For an

injury to be ‘particularized,’ it ‘must affect the plaintiff in a personal and individual way.’ ”

Id. at 1548 (quoting Lujan, 504 U.S. at 560 n.1). To be “concrete” an injury “must actually

exist”: the injury must be “real” and not “abstract.” Id. Generally, “even in the context of

a statutory violation,” “a bare procedural violation, divorced from any concrete harm,” does

not satisfy the injury-in-fact requirement. Id. at 1549–50.

       Plaintiff alleges she is unable to police Defendants’ websites for ADA compliance

because the websites are not ADA compliant. (Compl. ¶ 10.) Plaintiff alleges she intends


                                               3
         Case 3:20-cv-01438-KAD Document 10 Filed 11/09/20 Page 4 of 6




to revisit Defendants’ websites again to check for ADA compliance in the future. (Compl.

¶¶ 10–11.) But Plaintiff does not allege Defendant’s websites interfered with a real, actual,

concrete trip to Niantic, where the Inn at Harbor Hill is located. See Harty v. Greenwich

Hosp. Grp., LLC, 536 F. App’x 154, 155 (2d Cir. 2013) (finding the plaintiff's “assertion

that he visits public accommodations as an ADA ‘tester’ ” failed to establish standing as it

lacked “the requisite link to Stamford, Connecticut”—the location of the defendant’s

Hampton Inn). Plaintiff’s failure to link web surfing to reality is fatal to standing.

       Plaintiff’s mere “someday” plans to visit Connecticut add nothing to the analysis.

To begin, she never pleads that her future Connecticut travel includes a visit to Niantic, or

even New London County. Instead, she makes the generalized assertion that she “intends

to travel throughout the entire State.” (Compl. ¶ 13.) Moreover, Plaintiff conditions her

general Connecticut tour on the end of the “Covid crisis”—confirming that any harm posed

by Defendant’s websites is hardly imminent, as is required. See Kreisler v. Second Ave.

Diner Corp., 731 F.3d 184, 187 (2d Cir. 2013) (real, immediate threat of repeated injury

necessary for injunctive relief).   Finally, even taking the most optimistic view of how

quickly the pandemic will end, Plaintiff committed herself before other judges to travel in

other states. See, e.g., Laufer v. Mann Hosp., LLC, No. A-20-CV-00620-JRN, 2020 WL

6018945, at *5 n.4 (W.D. Tex. Sept. 30, 2020) (“Plaintiff claims she intends to ‘visit Texas’

when the coronavirus crisis abates.”); Laufer v. U.L.S.T., LLC, No. 20 C 3527, 2020 WL

6487199, at *2 (N.D. Ill. Nov. 4, 2020) (“Laufer avers in that declaration that she in fact

has plans to visit the Johnsburg [Illinois] area.”). Plaintiff can’t be in two places at once.




                                              4
         Case 3:20-cv-01438-KAD Document 10 Filed 11/09/20 Page 5 of 6




       Because Plaintiff fails to tie her internet browsing in Florida to any actual, upcoming

trip to Niantic, because no travel is forthcoming until the Covid era is over, and because

Plaintiff told other judges that her post-pandemic travel includes other states, the alleged

injury caused by Defendant’s website is not particularized or concrete.            Plaintiff’s

complaint should be dismissed for lack of standing.

                                      CONCLUSION

       For the reasons set forth above, Harbor Hill respectfully requests that its Motion to

Dismiss be granted.

November 9, 2020
Westport, Connecticut

                                           Defendant,
                                           HARBOR HILL MARINA INC,
                                           d/b/a INN AT HARBOR HILL MARINA,




                                           _____________________________________
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                                              5
           Case 3:20-cv-01438-KAD Document 10 Filed 11/09/20 Page 6 of 6




                          CERTIFICATION OF SERVICE

      This is to certify that on this 9th day of November 2020, Defendant’s

Memorandum of Law in Support of Motion to Dismiss was served via the Court’s

CM/ECF system on counsel of record for the Plaintiff and via U.S. Mail to the following

address:

L. Kay Wilson, Esq.
Wilson Law
2842 Main Street, #332
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                                           6
